                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

   UNITED STATES OF AMERICA                       ) Case No. 4:20-CR-11
                                                  )
   v.                                             ) District Judge Curtis L. Collier
                                                  )
   RICHARD WILLIAM TRIMUE                         ) Magistrate Judge Christopher H. Steger

                                             ORDER

          United States Magistrate Judge Christopher H. Steger filed a report and recommendation

  (R&R) recommending that the Court: (1) grant Defendant’s motion to withdraw his not guilty plea

  to Count One (lesser-included offense) of the three-count Indictment; (2) accept Defendant’s guilty

  plea to Count One (lesser-included offense) of the three-count Indictment; (3) adjudicate

  Defendant guilty of conspiracy to distribute 50 grams or more of a mixture and substance

  containing methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846; and

  (4) order that Defendant remain in custody pending sentencing or further order of this Court. (Doc.

  131.)

           Neither party filed a timely objection to the report and recommendation.            After

   reviewing the record, the Court agrees with the report and recommendation. Accordingly, the

   Court ACCEPTS and ADOPTS the report and recommendation (Doc. 131) pursuant to 28

   U.S.C. § 636(b)(1) and ORDERS as follows:

          1.     Defendant’s motion to withdraw his not guilty plea to Count One (lesser-included
                 offense) of the three-count Indictment is GRANTED;

          2.     Defendant’s plea of guilty to Count One (lesser-included offense) of the three-count
                 Indictment is ACCEPTED;

          3.     Defendant is hereby ADJUDGED guilty of conspiracy to distribute 50 grams or
                 more of a mixture and substance containing methamphetamine in violation of 21
                 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846;




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        4.   A decision on whether to accept the plea agreement is DEFERRED until
             sentencing; and

        5.   Defendant SHALL REMAIN in custody until further order of this Court or
             sentencing in this matter which is scheduled to take place before the undersigned
             on September 22, 2021, at 2:00 p.m.


        SO ORDERED.

        ENTER:

                                                 /s/
                                                 CURTIS L. COLLIER
                                                 UNITED STATES DISTRICT JUDGE




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